Case 07-11047-CSS Doc 9646-2 Filed 01/05/11 Page1of4

EXHIBIT B
Case 07-11047-CSS Doc 9646-2 Filed 01/05/11 Page 2of4

are Pe U.S. DEPARTMENT OF HOUSING AND URBAN DEVELOPMENT
‘ WASHINGTON. D.C. 20410-8000

a (et Bh =
aw Lee we &
> .
% I | | =
Gy a

fay evi

%,

OFFICE OF THE ASSISTANT SECRETARY
FOR HOUSING-FEDERAL HOUSING COMMISSIONER

November 21, 2005

Chairman Michael Strauss
President & CEO
American Home Mortgage
520 Broadhollow Road
Melville, NY 11747

Subject: RESPA Case # R-05-1142
Gil Alvarez
American Home Mortgage Loan # 10000769615

Dear Mr. Strauss:

The Department of Housing and Urban Development's Office of RESPA and Interstate
Land Sales (Office) is responsible for enforcing the Real Estate Settlement Procedures Act
(RESPA). The Office has received a complaint from Attorney Bonita E. Zelman, counsel for Gil
Alvarez, a copy of which is attached. Ms. Zelman has informed the Office that American Home
Mortgage has failed to answer Mr. Alvarez's complaints. Mr. Alvarez also alleges that he was
misled as to the interest rate of his loan in addition to the failure to respond to the qualified
written request pursuant to Section 6 of RESPA.

This Office would remind you that Section 6(e) of RESPA imposes a duty upon loan
servicers to respond to borrower inquiries. Loan servicers have 20 business days to
acknowledge a qualified written request and must take action to resolve the matter within 60
business days. During the 60-day period relating to a dispute regarding a borrower's payments, a
loan servicer may not provide adverse information relating to the dispute to a credit bureau.

We would also remind you that by the terms of Section 16 of RESPA (12 U.S.C. Section
2614), a borrower may bring an action for damages in the United States District Court within
three years from the date of a violation of Section 6's provisions. In addition, please remember
that the Secretary of Housing and Urban Development is authorized by Section 2617(c)(1) of
Title 12 of the United States Code to investigate any facts, conditions, practices or matters
deemed necessary to determine whether any person has violated or is about to violate any
provision of the Act or any rule or regulation prescribed pursuant thereto, or to secure
information, including issuing subpoenas, to serve as a basis for recommending further
legislation concerning real estate settlement practices.
Case 07-11047-CSS Doc 9646-2 Filed 01/05/11 Page 3of4

Please contact Ms. Zelman immediately to resolve this matter. If an acceptable resolution
is not reached within 15 days of the receipt of this letter, this complaint will also be forwarded
to the Federal Reserve Board of Governors for an investigation into possible Truth in Lending

Act violations.

Please inform this Office of the resolution of this matter. A copy of any correspondence
with Ms. Zelman or Mr. Alvarez should be sent to:

U.S. Department of Housing and Urban Development
Office of RESPA and Interstate Land Sales

451 7th, SW, Room 9154

Washington, DC 20410

Attn: Deborah Denton

If you have any questions, please contact Ms. Denton at (202) 708-0502.
Sincerely

Ivy M. Jackson

Director
Office of RESPA and
Interstate Land Sales

Enclosure
cc: Bonita E. Zelman
Gil Alvarez
Case 07-11047-CSS Doc 9646-2 Filed 01/05/11 Page4of4

Sincerely,

Ivy M. Jackson

Director

Office of RESPA and
Interstate Land Sales
